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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF OKLAHOMA

SKYCAM, LLC, a Delaware limited liability
company,

Plaintiff,
V.

Case No. 09-CV-294-GKF-FHM
PATRICK J. BENNETT, an individual, and
ACTIONCAM, LLC, an Oklahoma Limited
Liability Company,

Nee Nee Ne Ne ee ee ee ee ee ee ee ee”

Defendants.

APPLICATION FOR WRIT OF EXECUTION

Plaintiff Skycam, LLC, applies to this Court for a Writ of Execution against Judgment
Debtor Patrick J. Bennett (“Bennett”). In support of such application, Plaintiff states as follows:

1. Judgment has been entered against Bennett and in favor of Plaintiff as follows: (a)
Judgment entered September 30, 2012, [Doc. #349] in the total amount of $584,000.00; (b) Order
on Bill of Costs entered on September 30, 2013, [Doc. #403] in the amount of $150,000.00; and (c)

Order Awarding Attorney Fees Entered October 29, 2013, [Doc. #420] in the amount of

$2,000,000.00.
2. As of the date of this Application, said Judgment remains unsatisfied.
3. Pursuant to F.R.Civ.P. 69, Plaintiff requests that a Writ of Execution be issued

against the chattels of Bennett, including without limitation the following property:

Any and all intellectual property in which Bennett claims any
interest, including without limitation intellectual property relating
to any of the following: (1) a 4 point aerial camera system; (2) a
two point camera system which can turn a corner; or (3) a robotic
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arm camera system for basketball supporting multiple angles from
the backboard.

Included with such intellectual property would be any and all
drawings, notes, plans, designs, renderings, computer files,
memoranda, work product, books and records, records of
experiments, models, mock-ups, patents, patent applications, draft
patent applications, or other written, electronic, or other physical
manifestation of any kind, including all draft, preliminary, interim,
provisional, and/or final versions of any of the above, containing or
reflecting such intellectual property.

A proposed Writ of Execution is being submitted contemporaneously with this Application.

Respectfully submitted,

/s/Charles Greenough

Rachel Blue, OBA #16789

Charles Greenough, OBA #12311

MCAFEE & TAFT A PROFESSIONAL CORPORATION
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Email: charles.greenough@mcafeetaft.com

ATTORNEYS FOR SKYCAM LLC
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CERTIFICATE OF SERVICE

I hereby certify that on June 25, 2014, I electronically transmitted the foregoing
document to the Clerk of Court using the ECF System for filing and transmittal to all parties who
have entered their appearances in this case on said system, and by first class mail to the
following:

Patrick J. Bennett
6600 South Ash Place
Tulsa, OK 74011

/s/Charles Greenough
Charles Greenough

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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OKLAHOMA

WRIT OF EXECUTION

To the Marshal of: Northern District of Oklahoma

YOU ARE HEREBY COMMANDED, that of the goods and chattels, lands and tenements in your district
belonging to: Patrick J. Bennett

you cause to be made and levied as well as a certain debt of $ 2,584,000.00 in the United States.
District Court for the Northern District of Oklahoma, before the Judge of said Court by the consideration of the
same Judge lately recovered against the said, Patrick J. Bennett, in Case No. 09-CV-294-GKF-FHM

Judgment entered September 30, 2012 [Dkt. No. 349] and Order Awarding Attorney
Fees entered October 29, 2013 [Dkt. No. 420]

and also the cost that may accrue under this writ. And that you have above listed moneys at the place and date
listed below, and that you bring this writ with you.

Place: 6600 South Ash Place District! Northern District, OK
City: Tulsa, OK 74011 Date:
Date: Phil Lombardi, Clerk of Court
By: Deputy Clerk
RETURN
Date Received: Date of Execution of Writ:

This writ was received and executed.

U.S Marshal By: Deputy Marshal

Writ of Execution DC-11 Modified (12/10)
